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T KELLEY ORIVE
COAL TOWNSHIP, PA 17866
(570) 644-7890

Secretary
JEFFREY A. BEARD, Ph.D.

Superinlendent
JOSEPH J. PIAZZA

PENNSYLVANIA DEPARTMENT OF CORRECTIONS
STATE CORRECTIONAL INSTITUTION AT COAL TOWNSHIP

May 15, 2007

Clerk of Courts, U. S. District Court
Middle District

235 N Washington Avenue, Room 423

P. O. Box 4148
Scranton, PA 18501-1148

Dear Clerk of Courts

Enclosed please find check #100411 in the amount of $21.45 for April 2007
Court Cost Obligations.

The support documentation is attached.
If you have any questions, please contact me.
Sincerely

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Nan

Ison, Accountant
mmmate Accounts
Phone: (570) 644-7890 ext. 110
Fax: (570) 644-3410

nwilson@state.pa.us
Attachments

ce: File

“An Equal Opportunity Employer”
